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                                               Equals Three, LLC and Ray William Johnson
                                           6
                                           7
                                           8                                UNITED STATES DISTRICT COURT

                                           9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

                                          10
                                                EQUALS THREE, LLC, a California            )   CASE NO. 2:14-cv-09041-SVW-
                                          11    Limited Liability Company,                 )   (AFMx)
                                                                                           )
                                          12                   Plaintiff,                  )   Hon. Stephen V. Wilson
Abrams Garfinkel Margolis Bergson, LLP




                                                       v.                                  )   Courtroom 6
                                          13                                               )
    5900 Wilshire Boulevard, Suite 2250




                                                JUKIN MEDIA, INC., a California            )   EQUALS THREE’S AND RAY
       Los Angeles, California 90036
        Telephone: (310) 300-2900




                                                Corporation, and DOES 1 through 50,        )   WILLIAM JOHNSON’S TRIAL
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                                          14
                                                inclusive,                                 )   BRIEF
                                          15                                               )
                                                               Defendants.                 )
                                          16                                               )   Final Pretrial Conference
                                                                                           )   Date: February 22, 2016
                                          17                                               )   Time: 3:00 P.M.
                                                                                           )   Ctrm: 6
                                          18                                               )
                                                                                           )
                                          19                                               )
                                                                                           )
                                          20                                               )   Action Filed: November 21, 2015
                                                JUKIN MEDIA, INC., a California            )   Trial Date: March 1, 2016
                                          21    Corporation,                               )
                                                                                           )
                                          22                   Counterclaimant,            )
                                                       v.                                  )
                                          23                                               )
                                                EQUALS THREE, LLC, a California            )
                                          24    limited liability company; and RAY         )
                                                WILLIAM JOHNSON, an individual,            )
                                          25                                               )
                                                               Counter-Defendants.         )
                                          26                                               )
                                                                                           )
                                          27                                               )
                                                                                           )
                                          28          Pursuant to Local Rule 16-5, Plaintiff Equals Three and Counter-Defendant
                                          29   Equals Three, LLC and Johnson’s
                                               Trial Brief
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                                           1 Ray William Johnson (collectively, “Equals Three”) submit this trial brief pursuant
                                           2
                                               to L.R. 16-10.
                                           3
                                           4 I. INTRODUCTION
                                           5
                                                      The purpose of this trial brief is to provide supplemental briefing to the Court
                                           6
                                           7 regarding the proper analytical framework for a fair use analysis. Because the key
                                           8
                                               facts have been set out in Plaintiff’s contentions of fact and law, they are not
                                           9
                                          10 repeated here. For the most parts, only the points of law are identified.
                                          11
                                               II. FAIR USE ANALYSIS
                                          12
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                                                      A. Analytical Framework
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                                          14
                                          15          There is no infringement where there is a fair use of the copyrighted work for
                                          16
                                               purposes such as criticism or comment. 17 U.S.C. § 107 (2012). To put it another
                                          17
                                          18 way, “[c]reators of original works have many rights and remedies against those who
                                          19 infringe their work. However, their rights are limited when someone takes the
                                          20
                                               original work and derives something new and different from it.” Keeling v. New
                                          21
                                          22 Rock Theater Prods., LLC, 2011 U.S. Dist. LEXIS 52736, *2-3 (S.D.N.Y. May 17,
                                          23 2011). The Copyright Act provides that the fair use of a copyrighted work, “for
                                          24
                                               purposes such as criticism, comment, news reporting, teaching (including multiple
                                          25
                                          26 copies for classroom use), scholarship, or research, is not an infringement of
                                          27 copyright.” 17 U.S.C. § 107. In determining whether the use of a work is a fair use,
                                          28
                                             courts should consider the following factors:
                                          29 Equals Three, LLC and Johnson’s
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                                           1                  (1) the purpose and character of the use, including whether
                                                              such use is of a commercial nature or is for nonprofit
                                           2
                                                              educational purposes; (2) the nature of the copyrighted work;
                                           3                  (3) the amount and substantiality of the portion used in
                                                              relation to the copyrighted work as a whole; and (4) the
                                           4
                                                              effect of the use upon the potential market for or value of the
                                           5                  copyrighted work.
                                           6
                                           7 Id. These factors should not be treated in isolation, and instead must be explored and
                                           8 weighed in light of copyright’s purpose. Campbell v. Acuff-Rose Music, Inc., 510
                                           9
                                               U.S. 569, 578 (1994). The Supreme Court has found that transformative uses “lie at
                                          10
                                          11 the heart of the fair use doctrine’s guarantee of breathing space within the confines
                                          12 of copyright” because such works generally further “the goal of copyright, to
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                                               promote science and the arts[.]” Id. at 579. There are no bright-line rules; fair use
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                                          14
                                          15 must be evaluated on a case-by-case basis by reference to the four statutory factors.
                                          16 Id. at 577.
                                          17
                                          18          B. State of Mind is Irrelevant to Fair Use Determinations.

                                          19
                                                      Jukin’s intention appears to be to put on evidence of state of mind in two
                                          20
                                          21 different ways. First, it hopes to show that the Equals Three’s creative team did not
                                          22 intentionally make a fair use because they do understand the fair use factors, and (in
                                          23
                                             some cases) could not recite the definition of parody in a deposition. Second, they
                                          24
                                          25 argue that Equals Three, in bad faith, turned down a licensing opportunity with
                                          26 Jukin to license the source videos and that such bad faith somehow precludes Equals
                                          27
                                             Three from having made a fair use of the Jukin vieos. Neither type of evidence is
                                          28
                                          29   Equals Three, LLC and Johnson’s
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                                           1 relevant to a fair use determination.
                                           2
                                                              1. Intent to Create a Parody or Other Transformative Work
                                           3
                                                      Jukin has gone to great lengths to show that members of Equals Three’s
                                           4
                                           5 creative team do not know what a parody is, do not know the difference between a
                                           6
                                               parody and a satire, and a variety of other things to attempt to show that because
                                           7
                                           8 they did not know what they were doing, they did not make a fair use. Even if those
                                           9 were the facts (and Equals Three and Johnson dispute these characterizations), they
                                          10
                                               are wholly irrelevant. Subjective intent is not the test for parody. “The threshold
                                          11
                                          12 question when fair use is raised in defense of parody is whether a parody character
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                                          13 may be reasonably perceived.” Campbell at 582.
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                                          14
                                                      In Cariou v. Prince, 714 F.3d 694, 707 (2d Cir. 2013), the District Court
                                          15
                                          16 concluded that certain works were not transformative because of deposition
                                          17 testimony to the effect that the defendant did not have any message, that he was not
                                          18
                                               trying to create anything with a new meaning or a new message, and that he did not
                                          19
                                          20 have any interest in the plaintiff’s original intent. Id. The Court concluded that the
                                          21 absence of testimony that would lend strong support to a fair use defense was not
                                          22
                                             dispositive. Id. “What is critical is how the work in question appears to the
                                          23
                                          24 reasonable observer, not simply what an artist might say about a particular piece or
                                          25 body of work.” The Court further concluded that the proper analysis required that it
                                          26
                                             not confine itself to defendant’s explanations of his works but instead to “examine
                                          27
                                          28 how the [works] may ‘reasonably be perceived’ in order to assess their
                                          29   Equals Three, LLC and Johnson’s
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                                           1 transformative nature.” Id.
                                           2
                                                              2. Bad Faith in Not Entering a License
                                           3
                                                      In its Motion for Partial Summary Judgment, Jukin argued that Equals Three
                                           4
                                           5 acted in bad faith by not entering into a license agreement with Jukin. The Court in
                                           6
                                               its order denying, in part, Jukin’s motion concluded that any purported bad faith is
                                           7
                                           8 irrelevant:
                                           9                  Finally, the Court does not find that Equals Three’s
                                          10                  purported bad faith in not obtaining a license mitigates
                                                              against fair use. “If the use is otherwise fair, then no
                                          11                  permission need be   sought or granted.” Campbell, 510 U.S.
                                          12                  at 585 n.18. If using a song after requesting and being denied
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                                                              a license does not show bad faith, then neither does failing
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                                                              to obtain a license and continuing to use footage after being
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                                                              sent a demand letter. See id. (finding that being denied
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                                          14
                                                              permission to use a work does not weigh against fair use).
                                          15
                                          16
                                                      C. The Four Fair Use Factors
                                          17
                                          18                  1. Purpose & Character of the Work
                                          19
                                                      The first fair use factor requires the court to consider “the purpose and
                                          20
                                          21 character of the work.” 17 U.S.C. § 107(1) (2012). The central purpose of this first
                                          22 factor is to determine whether the new work is transformative. Perfect 10, Inc. v.
                                          23
                                             Amazon.com, Inc., 508 F.3d 1146, 1164 (9th Cir. 2007). A new work is
                                          24
                                          25 transformative when it does not “merely supersede the objects of the original
                                          26 creation but rather adds something new, with a further purpose or different
                                          27
                                             character, altering the first with new expression, meaning, or message.” Id. (internal
                                          28
                                          29   Equals Three, LLC and Johnson’s
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                                           1 quotation marks omitted) (quoting Campbell, 510 U.S. at 579). The “more
                                           2
                                               transformative the new work, the less will be the significance of the other factors . . .
                                           3
                                               that may weigh against a finding of fair use.” Morris v. Young, 925 F. Supp. 2d
                                           4
                                           5 1078, 1084-85 (C.D. Cal. 2013) (alteration in original) (quoting Campbell, 510 U.S.
                                           6
                                               at 579). The preamble to § 107 lists criticism and comment as illustrative bases
                                           7
                                           8 supporting fair use under this factor. See Monge, 688 22 F.3d at 1173. Additionally,
                                           9 the Supreme Court has stated that parody has “an obvious claim to transformative
                                          10
                                               value.” Campbell, 510 U.S. at 579. “Among the various forms of ‘transformative
                                          11
                                          12 use’ is parody . . . .” Sedgwick Claims Mgmt. Servs. v. Delsman, 2009 U.S. Dist.
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                                          13 LEXIS 61825, *12 (N.D. Cal. July 16, 2009).
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                                          14
                                                      A parody is a “literary or artistic work that imitates the characteristic style of
                                          15
                                          16 an author or a work for comic effect or ridicule.” Campbell, 510 U.S. at 580
                                          17 (quoting AMERICAN HERITAGE DICTIONARY 1317 (3d ed. 1992)). For the purposes
                                          18
                                               of copyright law, a parodist may claim fair use where he or she uses some of the
                                          19
                                          20 “elements of a prior author’s composition to create a new one that, at least in part,
                                          21 comments on that author’s works.” Id. The original work need not be the sole
                                          22
                                             subject of the parody; the parody “may loosely target an original” as long as the
                                          23
                                          24 parody “reasonably could be perceived as commenting on the original or criticizing
                                          25 it, to some degree.” Id. at 580–81, 583. Parody, thus, emerges from the “joinder of
                                          26
                                             reference and ridicule.” Mattel Inc. v. Walking Mt. Prods., 353 F.3d 792, 802 (9th
                                          27
                                          28 Cir. 2003). The issue of whether a work is a parody is a question of law, not a
                                          29   Equals Three, LLC and Johnson’s
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                                           1 matter of public majority opinion. Id. at 801. “Unless the plaintiff’s copyrighted
                                           2
                                               work is at least in part the target of the defendant’s satire, then the defendant’s work
                                           3
                                               is not a “parody’ in the legal sense. . . .” Id. (citing Dr. Seuss Enters., L.P. v.
                                           4
                                           5 Penguin Books USA, Inc., 109 F.3d 1394, 1400-01 (9th Cir. 1997)).
                                           6
                                                      Even if the E3 Show episodes were not deemed parodies, they are still
                                           7
                                           8 transformative because the episodes comment upon or criticize the Jukin videos. As
                                           9 the Court noted in its Order denying, in part, Jukin’s Motion for Partial Summary
                                          10
                                               Judgment (Dkt No. 68):
                                          11
                                          12                  In plain terms, whether or not Equals Three’s episodes
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                                                              criticize Jukin’s videos, the events depicted in Jukin’s videos
                                          13                  are the butt of Equals Three’s jokes. Thus, the jokes,
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                                                              narration, graphics, editing, and other elements that Equals
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                                          14
                                                              Three adds to Jukin’s videos add something new to Jukin’s
                                          15                  videos with a different purpose or character.
                                          16
                                          17          The “purpose” factor also requires the Court to consider whether the

                                          18 defendant’s use is commercial or noncommercial. See 17 U.S.C. § 107 (2012);
                                          19
                                               Harper & Row, Publrs. v. Nation Enters., 471 U.S. 539, 562, 105 S. Ct. 2218, 85 L.
                                          20
                                          21 Ed. 2d 588 (1985). But, where a where a work has a “transformative nature and
                                          22 parodic quality,” its commercial qualities become less important. Mattel, 353 F.3d
                                          23
                                             at 803; see also Campbell, 510 U.S. at 579 (the more “transformative the new work,
                                          24
                                          25 the less will be the significance of the other factors”). Fair use works involving
                                          26 comment and criticism “are generally conducted for profit in this country.”
                                          27
                                             Campbell, 510 U.S. at 584 (quoting Harper & Row, 471 U.S. at 592). On balance,
                                          28
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                                           1 since the E3 show is a parody and highly transformative in nature, commercial
                                           2
                                               expectation should not weigh much against E3. As the Court noted in its Order
                                           3
                                               denying, in party, Jukin’s Motion for Partial Summary Judgment (Dkt No. 68):
                                           4
                                           5                  Equals Three’s use of Jukin’s videos is admittedly
                                           6                  commercial. Nevertheless, the commercial nature of the use
                                                              is outweighed by the episode’s transformativeness. See
                                           7                  SOFA Entm't, Inc. v. Dodger Prods., Inc., 709 F.3d 1273,
                                           8                  1278–79 (9th Cir. 2013) (finding insignificant the
                                                              commercial nature of defendant’s work where defendant’s
                                           9                  use was transformative).
                                          10
                                          11                  2. Nature of the original work

                                          12          The second factor of fair use, the nature of the original work, considers (1) the
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                                          13
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                                               publication status of the original work and (2) the extent to which the original work
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                                          14
                                          15 is creative. Harper & Row, 471 U.S. at 563–64. The creative aspect of the original
                                          16 work is a critical element of the original work’s nature. Campbell, 510 U.S. at 586.
                                          17
                                               “This factor calls for recognition that some works are closer to the core of intended
                                          18
                                          19 copyright protection than others, with the consequence that fair use is more difficult
                                          20 to establish when the former works are copied.” Id.
                                          21
                                                    The Court in Los Angeles News Service v. KCAL-TV Channel 9 held that
                                          22
                                          23 where the original work is information and factual, “this factor makes it a great deal
                                          24 easier to find fair use.” 108 F.3d 1119, 1122 (9th Cir. 1997). In that case, Los
                                          25
                                             Angeles News Service (LANS) caught the beating of Reginald Denny, in the Wake
                                          26
                                          27 of the Rodney King riots, on camera from a news helicopter. Id. at 1120. The court
                                          28 found that “[t]he Denny beating tape is information and factual and news; each
                                          29 Equals Three, LLC and Johnson’s
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                                           1 characteristic strongly favors KCAL,” ultimately finding that this second factor
                                           2
                                               weighed in favor of finding fair use. Id. at 1122.
                                           3
                                                      The Ninth Circuit in Sofa Entertainment, Inc. v. Dodger Productions
                                           4
                                           5 established that even an audiovisual work is not presumptively creative. 709 F.3d
                                           6
                                               1273 (9th Cir. 2013). In that case, the copied work was a clip from The Ed Sullivan
                                           7
                                           8 Show in which Ed Sullivan introduces the rock and roll group, the Four Seasons. Id.
                                           9 at 1277. Though the episode of The Ed Sullivan Show as a whole could be deemed
                                          10
                                               creative and “near the core of copyright,” the particular clip conveyed primarily
                                          11
                                          12 factual information, and so this factor weighed in favor of fair use. Id. at 1279.
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                                          13          This second factor, the nature of the original work, is “not . . . ever likely to
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                                          14
                                               help much in separating the fair use sheep from the infringing goats in a parody
                                          15
                                          16 case, since parodies almost invariably copy publicly known, expressive works.”
                                          17 Campbell, 510 U.S. 586; see also Dr. Seuss, 109 F.3d at 1402 (9th Cir. 1997); and
                                          18
                                               Bourne Co. v. Twentieth Century Fox Film Corp., 602 F.Supp.2d 499, 509
                                          19
                                          20 (S.D.N.Y. 2009).
                                          21                  3. Amount & Substantiality
                                          22
                                                      The third fair use factor, “asks whether ‘the amount and substantiality of the
                                          23
                                          24 portion used in relation to the copyrighted works as a whole,’ . . . are reasonable in
                                          25 relation to the purpose of copying.” Campbell, 510 U.S. at 587. Therefore, the
                                          26
                                             Court should analyze this factor in light of the parodic character and purpose of E3’s
                                          27
                                          28 use.
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                                           1          The law does “not require parodic works to take the absolute minimum
                                           2
                                               amount of the copyrighted work possible.” Mattel, 353 F.3d at 804; see also
                                           3
                                               Leibovitz v. Paramount Pictures Corp., 137 F.3d 109, 116 (2d Cir. 1998). The
                                           4
                                           5 reasonableness of any excess taken depends on “the extent to which the [work’s]
                                           6
                                               overriding purpose and character is to parody the original or, in contrast, the
                                           7
                                           8 likelihood that the parody may serve as a market substitute for the original.”
                                           9 Campbell 510 U.S. at 587.
                                          10
                                                      Jukin claims that Equals Three takes the “heart” of Jukin’s videos, but as the
                                          11
                                          12 Court noted in its Order denying, in part, Jukin’s Motion for Partial Summary
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                                          13 Judgment, parodies may need to take a work’s heart in order to conjure up the
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                                          14
                                               original and achieve its parodic purpose. Campbell, 510 U.S. at 588-89.
                                          15
                                          16                  4. Effect upon the market for the original work.

                                          17          The fourth factor of the fair use analysis measures the effect of the use upon
                                          18
                                               the potential market for or value of the copyrighted work. 17 U.S.C. §107(4)
                                          19
                                          20 (2012). In assessing this factor, a court must consider “whether the secondary use
                                          21 usurps or substitutes for the market of the original work.” Castle Rock Entm’t, Inc.
                                          22
                                             v. Carol Publ’g Group, 150 F.3d 132, 145 (2d Cir. 1998).
                                          23
                                          24       This inquiry requires courts to consider both the extent of the harm caused by

                                          25 the alleged infringer and “whether unrestricted and widespread conduct of the sort
                                          26
                                             engaged in by the defendant . . . would result in a substantially adverse impact on
                                          27
                                          28 the potential market for the original.” Campbell, 510 U.S. at 590 (internal quotation
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                                           1 marks and citation omitted). This inquiry must include harm to the market for the
                                           2
                                               original and harm to the market for derivative works. Id. However, the law does not
                                           3
                                               recognize a derivative market for critical works. Id. at 592. Market harm caused by
                                           4
                                           5 effective criticism that suppresses demand is not cognizable. Id. at 591. Instead, the
                                           6
                                               only kind of harm cognizable is market substitution—i.e. where the new work
                                           7
                                           8 diminishes demand for the original work by acting as a substitute for it. Id. at 591–
                                           9 92. Thus, where a work is transformative, market harm may not so readily be
                                          10
                                               inferred and there is no presumption of market harm. Monge, 688 F.3d at 1180–81.
                                          11
                                          12          Where the secondary work serves a fundamentally different function than the
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                                          13 original there is little risk of the secondary work supplanting the original. Maxtone-
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                                          14
                                               Graham v. Burtchaell, 803 F.2d 1253, 1264 (2d Cir. 1986). Where the second use is
                                          15
                                          16 transformative, “market substitution is at least less certain, and market harm may not
                                          17 be so readily inferred.” Campbell, 510 U.S. at 590.
                                          18
                                                      Effectively, E3 substantially alters the original videos with “new expression,
                                          19
                                          20 meaning and message.” Campbell, 510 U.S. at 579 (citing Pierre N. Leval,
                                          21 Commentary: Toward A Fair Use Standard, 103 Harv. L. Rev. 1105, 1111 (1990)).
                                          22
                                             Thus, E3’s essential purpose for using the videos is commentary and criticism – a
                                          23
                                          24 quintessential parody.
                                          25          It is well settled that “as to parody pure and simple, it is more likely that the
                                          26
                                               new work will not affect the market for the original in a way cognizable under this
                                          27
                                          28 factor, that is, by acting as a substitute for it. This is so because parody and the
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                                           1 original usually serve different market functions.” Campbell, 510 U.S. at 590.
                                           2
                                                      While the market for licensing an original work may be relevant to this factor,
                                           3
                                               Jukin is not entitled to a licensing fee for a work that qualifies for the fair use
                                           4
                                           5 defense as a parody. See Leibovitz, 137 F.3d at 117 (1998). Jukin’s concern about
                                           6
                                               lost revenue is misplaced: lost revenue due to “criticism or comment—whether or
                                           7
                                           8 not parodic—is a risk artists [] must accept.” Id. at 116 n.7. The video at issue in
                                           9 KCAL-TV is distinguishable as it would not qualify for fair use as a parody. As the
                                          10
                                               Court concluded in its Order denying, in part, Jukin’s Motion for Partial Summary
                                          11
                                          12 Judgment:
Abrams Garfinkel Margolis Bergson, LLP




                                          13                  Jukin further argues that Equals Three’s episodes usurp
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                                                              demand for Jukin’s videos. In support of this argument,
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                                          14
                                                              Jukin offers evidence that it licenses its videos to shows
                                          15                  which it claims are similar to Equals Three’s. However, as
                                          16                  stated above, there is no cognizable derivative market for
                                                              criticism. Thus, Jukin’s argument fails to the extent that
                                          17                  Jukin claims harm to a licensing market for shows that
                                          18                  critique and mock its videos in the manner that Equals Three
                                                              does.
                                          19
                                          20          In Bill Graham Archives v. Dorling Kindersley Ltd., no market harm was
                                          21
                                               found where defendant reproduced concert posters and tickets in a book about the
                                          22
                                          23 musical group the Grateful Dead. 448 F.3d at 608 (2d Cir. 2006). The copyright
                                          24 owner argued that defendant interfered with the market for licensing its images.
                                          25
                                             Like Jukin, the copyright claimant contended that there is an established market for
                                          26
                                          27 licensing its works and it suffered both the loss of royalty revenue directly from
                                          28 [defendant] and the opportunity to obtain royalties from others. The court in Bill
                                          29 Equals Three, LLC and Johnson’s
                                               Trial Brief
                                          30   Case No. 2:14-cv-09041-SVW-(AFMx) | 12
                                          31
                                 Case 2:14-cv-09041-SVW-AFM Document 102 Filed 02/24/16 Page 13 of 13 Page ID
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                                           1 Graham Archives concluded that this argument fails to show impairment to a
                                           2
                                               traditional, as opposed to a transformative market. Id. at 615 & n.6.
                                           3
                                           4
                                           5 DATED: February 23, 2016               ABRAMS GARFINKEL MARGOLIS BERGSON, LLP

                                           6
                                           7                                      By: ___/s/ Thomas H. Vidal______ ______________
                                                                                                      Thomas H. Vidal
                                           8                                                          Michael J. Weiss
                                                                                     Attorneys for Plaintiff/Counter-Defendant Equals
                                           9                                          Three, LLC & Counter-Defendant Ray William
                                                                                                          Johnson
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                                          29   Equals Three, LLC and Johnson’s
                                               Trial Brief
                                          30   Case No. 2:14-cv-09041-SVW-(AFMx) | 13
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